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                                               No. 25-1677
                            _________________________________________________

                               IN THE UNITED STATES COURT OF APPEALS
                                        FOR THE NINTH CIRCUIT
                            _________________________________________________

                           American Federation of Government Employees (AFGE), et al.
                                               Plaintiff-Appellees,
                                                         v.
                                   The Office of Personnel Management, et al.
                                              Defendant-Appellants
                          _____________________________________________________

                          ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTICT OF CALIFORNIA
                                          No. 3:25-cv-01780-WHA
                                     The Honorable Judge William Alsup
                           _________________________________________________

                                 PLAINTIFF-APPELLEES’ OPPOSITION TO
                                  MOTION FOR STAY PENDING APPEAL
                                   FROM PRELIMINARY INJUNCTION
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                              PLAINTIFF-APPELLEES’ OPPOSITION TO
                               MOTION FOR STAY PENDING APPEAL
                                 FROM PRELMINARY INJUNCTION
                    The District Court found that Plaintiff-Appellees presented a “mountain” of
             evidence that Defendant-Appellant U.S. Office of Personnel Management

             (“OPM”) unlawfully ordered the terminations of federal employees across agencies
             because they were in a “probationary” category of service. By contrast,
             Defendants continually “attempt[ed] to frustrate fact-finding” (Dkt.133 at 3) and

             presented no credible contrary evidence (submitting then withdrawing one
             declaration, then submitting a second with “scant” evidentiary value, Dkts.132 at
             11, 133 at 3). The District Court issued considered TRO and preliminary

             injunction orders, based on extensive factual findings, requiring Defendants to
             unwind their unlawful actions and restore government services by reinstating
             employees at six federal agencies for which the evidence was the strongest.

                    Defendants come nowhere near meeting the standard required for stays
             pending appeal. Their retroactive protest that restoring the status quo would be
             administratively burdensome does not establish irreparable injury. As the District

             Court found in denying a stay pending appeal, Defendants’ after-the-fact arguments
             about administrative burden and scope of relief fell far short, particularly because
             “the government has wholly failed to argue there is any other way to avoid the

             irreparable injuries flowing from the unlawful terminations except to reinstate the
             employees.” Dkt.133 at 2. No factor favors a stay.



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                                                BACKGROUND
             A.     OPM-Ordered Terminations of Federal Employees and Ensuing
                    Irreparable Harm

                    1.       The District Court’s Finding that OPM Ordered the Terminations
                             Is Well-Supported
                    Based on a “mountain of evidence” (Dkt.45 at 8), the District Court found
             that in February 2025, “OPM directed other agencies to fire their probationary

             employees.” Dkt.132 at 2. The Court relied on agency admissions:

                          • Forest Service: “All federal agencies, including the Department of
                            Agriculture, were notified on February 12, 2025, by the Office of
                            Personnel Management (OPM) to terminate all employees who have
                            not completed their probationary or trial period.... OPM directed
                            agencies to separate Probationary employees starting 2/13/25.”
                            Dkt.132 at 2 (Dkt.71).

                          • USDA: “[A]gencies were directed to begin providing termination
                            notices ... beginning immediately upon OPM notification.” Dkt.132 at
                            2; Dkt.39-6.

                             NSF: “We were directed last Friday by OPM to terminate all
                             probationers except for a minimal number of mission critical
                             probationers… This is not a decision the agency made.” Dkt.132 at 3;
                             Dkt.18-9.

                          • IRS: “[T]he removal of the probationary employees, again, that was
                            something that was directed from OPM.” Dkt.132 at 3; Dkt.39-5, 94-
                            1.

                          • Energy: terminations “[p]er OPM instructions.” Dkt.132 at 2;
                            Dkt.39-4.

                          • VA to Congress: “There was direction from the Office of Personnel
                            Management.” Dkt.132 at 4; Dkt.39-1.
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                          • Defense: “In accordance with direction from OPM, beginning
                            February 28, 2025, all DoD Components must terminate the
                            employment of all individuals who are currently serving a
                            probationary or trial period.” Dkt.132 at 4; Dkt.39-4.
                    Even Defendants’ own evidence, the court found, showed that OPM directed
             the terminations. Dkt.132 at 10-11 (discussing Dkt.111-2 at 2). In a February 14
             email, OPM instructed all agencies to terminate probationary employees by

             February 17, and redefined “qualifications for continued employment” (as used in
             5 C.F.R. §315.803) to “mean[] that only the highest-performing probationers in
             mission-critical areas should be retained.” Dkt.111-2 at 2.

                    The Court further found that that “OPM directed agencies to fire
             [probationary] employees under the pretense of ‘performance,’” including by using
             a “template termination letter.” Dkt.132 at 5-7 (citing Dkt.87-1). While some

             agencies made “slight tweaks” to the language, they “maintained the central
             pretense” and “stayed true to the OPM template, down to the footnotes.” Id. at 7.
             This “pretense” of performance-based termination was, “at least in part, [to]

             circumvent statutory and regulatory reduction in force procedures and foreclose
             appeal to the Merit Systems Protection Board.” Dkt.132-7-8; see also Dkt.64-1.
                    The Court further credited Plaintiffs’ evidence and agency officials’

             admissions that the OPM-directed terminations were not actually based on, and did
             not consider, employees’ performance. Dkt.132 at 6-7 (collecting evidence).
                    The Court also credited Plaintiffs’ evidence that OPM made the final call on
             which employees agencies were permitted to keep. Id. at 3 (citing NSF: “We chose

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             to retain them all” but “late Friday night,” “[t]hey told us that they directed us to
             remove probationers”); id. at 4 (IRS: “OPM would not allow us to exempt military
             veterans from the probationary terminations”).

                    OPM’s directives caused “tens of thousands” of terminations, with “[a]s
             many as 200,000 … [remaining] at risk.” Dkt.45 at 2, 5.
                    The Court also found that Defendants submitted no credible contrary
             evidence. Defendants presented two substantive declarations. The first, from
             Defendant Charles Ezell, was withdrawn by Defendants in advance of the PI
             hearing “to avoid submitting its declarant to examination, in violation of [the

             District] Court’s order.” Dkt.133 at 3. Defendants then submitted a different OPM
             official (Noah Peters)’s declaration, which had “scant evidentiary value” (id.)
             because Peters did “not claim personal knowledge as to anything in his
             declaration” or “state that he participated in any of the calls he describes.” Dkt.132
             at 11. The court found Defendants’ remaining documents—consisting of “press
             releases and a feeble start to a yet-to-come ‘administrative record’”—

             “unpersuasive.” Id. at 10.
                    After entry of the TRO but before the preliminary injunction hearing, on
             March 5 Defendants issued “revised OPM guidance” stating that “OPM is not

             directing agencies to take any specific performance-based actions regarding
             probationary employees.” Mot. at 10. But as the District Court found, Defendants
             submitted “no evidence suggesting that federal agencies—some of which have
             continued to terminate probationers—are now acting at their own discretion. Nor
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             has OPM submitted any evidence suggesting that it has rescinded or revised the
             other communications imparting its unlawful directive.” Dkt.88 at 4; see also
             Dkt.132 at 10-12.

                    2.     Findings of Widespread and Ongoing Irreparable Harm.
                    Plaintiffs submitted dozens of declarations documenting harm caused by
             these en masse terminations throughout the country, across numerous federal
             agencies. Dkt.122 (chart of harm evidence relating to 16 departments and

             agencies).1
                    On this record, the Court found “concrete harms … flow[ing] from the way
             the unlawfully directed terminations disable the federal agency services on which

             they or their members depend, or otherwise imperil their organizational mission or
             membership.” Dkt.132 at 12. It found some injuries had already occurred and
             others were “imminent,” ranging from harm to national forests and public lands to

             inability to access grant funds. Id. at 12-13.
                    Notwithstanding these findings, OPM dismisses Plaintiffs’ evidence as
             anecdotal. The record is replete with compelling examples of harms—such as the

             impact on the VA Veterans Crisis Line (Dkt.18-7 ¶9) and endangerment to CDC
             data security resulting from termination of all employees with specific
             cybersecurity credentials (Dkt.18-10 ¶18). But Plaintiffs also documented, and the
             Court credited, widespread ongoing and imminent harm. For example:

                    The Court ordered reinstatement at six agencies for which it found the
                    1

             strongest evidence. Dkt.132 at 13.
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                    • Conservation groups, Washington State, and others document widespread
                          impairment to services provided to the public and fragile ecosystems in
                          national parks and other public lands. Dkts.18-11; 18-13; 18-15; 39-2;

                          39-3; 70-10; 70-15; 70-18; 70-19.
                    • The decimation of probationary staff at federal science agencies
                          including NOAA, the CDC, and NIH is impairing scientific research,
                          environmental conservation; fisheries, water, floodplain, and fire
                          management; local public health work; and environmental justice
                          initiatives. Dkts.70-3; 70-16; 18-12; 70-11; 70-2; 70-5; 70-12; 70-4; 70-

                          9; 70-10; 71; 18-13; 39-2; 70-18; 18-8; 18-9; 70-15.
                    • Terminations of FAA workers have “introduced unnecessary risk and
                          stress that distracts from the mission of safe flight for civil and military
                          operations” for flight attendants. Dkts.70-13; 18-17.
                    • Impact on other VA services, including “mental health research, cancer
                          treatment, addiction recovery, prosthetics, and burn pit exposure studies,”

                          transportation services, and administrative services that facilitate
                          veterans’ access to treatment. Dkts.18-7; 18-3; 18-18; 18-12.
                    Based on this record, the District Court found irreparable harm justifying

             immediate relief. Dkt.45 at 22-23; Dkt.132 at 13.

             B.     Statutory And Regulatory Background
                    Defendants agree that “OPM lacks statutory authority to direct agencies to
             terminate probationary employees.” Mot. at 2; see also 5 U.S.C. §§1102, 1103;
                                                          -7-
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             Dkt.45 at 8. OPM’s statutory role is limited to human resources support for other
             agencies, including by publishing government-wide rules in compliance with the
             Administrative Procedure Act (“APA”), 5 U.S.C. §§1103, 1105, and providing

             technical assistance, id. §§4304, 4305, 7514.
                    Myriad authorizing statutes delegate exclusive authority over employment
             decisions to the federal agencies—specifically, to agency heads. Dkt.45 at 7-8.
             And Congress has delegated to agency heads the “General Authority to Employ”
             for their agencies. 5 U.S.C. §3101.
                    Congress has also constrained the manner by which agencies may terminate

             employees. Agency downsizing may take place only through a reduction-in-force,
             which provides order of termination and bumping rights, and requires notice to
             employees, affected states, and local governments. E.g., 5 U.S.C. §3502; 5 C.F.R.
             §§351.402, 351.801-803. Probationary employees (including employees new to a
             position, e.g., recently promoted) may be terminated based only on conduct or
             performance (after evaluation), and with detailed notice. See 5 U.S.C.

             §2301(b)(6); 5 C.F.R. §315.804(a).

             C.     Prior Proceedings
                    Plaintiffs challenged OPM’s acts as ultra vires and violating the APA on
             February 19, days after the first terminations were reported. Dkt.1. As of the
             preliminary injunction order, Defendants had not revealed how many probationary
             employees were fired, or at which agencies. Dkt.132 at 8 (“no transparency”).


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                    Plaintiffs moved for a TRO four days later and submitted admissions from at
             least six agencies that OPM directed them to terminate all probationary employees
             because of those employees’ limited appeal rights, and evidence of widespread

             hard already inflicted by these terminations. Dkts.18–18-19; 39–39-6.
                    Against this, Defendants submitted one declaration from Acting OPM
             Director Ezell, which summarily denied that OPM directed any terminations.
             Dkt.34. Defendants also submitted a January 20 OPM memorandum ordering
             agencies to compile and submit the names of all probationary employees and
             prepare to fire them, and a February 14 email directing agencies to separate all

             non-“mission critical” probationary employees. Dkt.37; 37-1.
                    The District Court issued an oral TRO followed by a lengthy written
             opinion. Dkt.44; 45. It found Plaintiffs’ “mountain” of evidence showed that
             OPM directed the terminations and documented widespread irreparable injury to
             Plaintiffs, and the single OPM declaration was not credible. Dkt.45. The Court
             ordered an evidentiary hearing on whether OPM ordered the terminations (which

             Defendants invited, Dkt.44 at 18-19), and that parties make all declarants available
             for cross-examination. Dkt.45. The court authorized a motion to amend to add
             agencies as Rule 19 defendants for purposes of effectuating relief. Dkt.44 at

             71:21-22; 72:14-22.
                    Following issuance of the TRO, OPM amended the January 20
             memorandum to say agencies should make their own decisions (Dkt.64-1), but did


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             not “rescind” any other communications or ensure any employees were restored to
             service.
                    Plaintiffs moved to amend to add Rule 19 agency defendants and new

             plaintiffs including Washington State, for leave to file new declarations, and to join
             the new plaintiffs to the preliminary injunction motion. Dkt.49 at 2. Defendants
             did not oppose the latter two requests. Dkt.63. Plaintiffs made all declarants
             available for cross-examination. Dkt.49 at 11. At a March 6 status conference, the
             Court reiterated that all declarants must be available for cross-examination but
             directed that government witnesses could appear remotely or be deposed in

             Washington D.C. if more convenient. Dkt.65.
                    Defendants opposed Plaintiffs’ motion, arguing, inter alia, that their TRO
             compliance mooted the case. Dkt.63. The District Court rejected Defendants’
             arguments and granted leave to amend. Dkt.88.
                    Rather than make Mr. Ezell available for cross-examination or deposition,
             Defendants moved to cancel the hearing and quash court-authorized subpoenas,

             and submitted a new declaration by Mr. Peters. Dkt.75, 77. The Court denied the
             motion. Dkt.89. Defendants then withdrew the Ezell declaration, refused to
             present any government witnesses, and called no Plaintiff declarants for cross-

             examination. Dkt.97.
                    On March 13, the court held a lengthy preliminary injunction hearing and
             orally granted preliminary injunctive relief followed by a written decision.
             Dkts.120 at 47-54, 132.
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             The Court found every preliminary injunction factor supported restoring the status
             quo. Id. It ordered OPM and six relief defendants to cease terminations, restore
             services by reinstating employees to their positions, and report on compliance by

             March 20. Dkts.120 at 52-54, 132. Defendants did not request a stay. Id. at 59.
                    The next day, Defendants moved for a stay pending appeal and filed six new
             agency declarations. Dkt.127-1–127-6. Without waiting for a ruling, they then
             filed in this Court an emergency motion for administrative stay and stay pending
             appeal. Defendants rely on their new declarations to dispute the District Court’s
             findings, including that OPM ordered the terminations. Mot. at 20. On March 15,

             the District Court rejected Defendants’ stay request, describing their new
             declarations as “a last-ditch attempt to relitigate those orders on a new, untested
             record” and as demonstrating mere administrative burdens, not that “they are …
             incapable of rehiring recently terminated probationers.” Dkt.133 at 3-4. On March
             17, 2025, this Court denied the administrative stay. Ninth Circuit ECF #14.

                                                 STANDARD
                    A stay pending appeal is an “extraordinary request.” East Bay Sanctuary

             Covenant v. Biden, 993 F.3d 640, 661 (9th Cir. 2021). It “is not a matter of right,
             even if irreparable injury might otherwise result.” Nken v. Holder, 556 U.S. 418,
             433 (2009). The Court considers likelihood of success on appeal; irreparable
             injury absent a stay; whether a stay will injure other parties; and the public interest.
             Id. at 434. “The burden of demonstrating that these factors weigh[] in favor of a
             stay [lies] with the proponent[,]” and irreparable injury and likelihood of success
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             “‘are the most critical’ factors.” Mi Familia Vota v. Fontes, 111 F.4th 976, 981 (9th
             Cir. 2024) (quoting Nken, 556 U.S. at 433-34).

                                                ARGUMENT

             I.     Defendants Do Not Establish Irreparable Injury.
                    “An applicant for a stay pending appeal must show that a stay is necessary to
             avoid likely irreparable injury to the applicant while the appeal is pending. Al Otro
             Lado v. Wolf, 952 F.3d 999, 1007 (9th Cir. 2020) (citing Nken, 556 U.S. at 434
             (noting “possibility of irreparable injury” is insufficient)) (emphasis added).
             Where this threshold showing is not made, “a stay may not issue,” regardless of the
             other stay factors. Doe #1 v. Trump, 957 F.3d 1050, 1058 (9th Cir. 2020). And
             “[t]he government cannot meet this burden by submitting conclusory factual
             assertions and speculative arguments that are unsupported in the record.” Doe #1,
             957 F.3d at 1059-60. A District Court’s denial of a stay pending appeal is reviewed
             for abuse of discretion. Lopez v. Heckler, 713 F.2d 1432, 1435 (9th Cir. 1983).
                    The District Court reviewed Defendants’ proffered evidence and found no
             irreparable harm. Dkt.133 at 3-4. Its finding that Defendants’ injury showing

             “fail[s] to persuade” was not clear error. Id. The Court correctly found that each
             asserted “harm” was not irreparable and “stems from the unwinding of the
             unlawful act and the return to the status quo.” Id. at 4. Defendants repeat the
             rejected arguments here.




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                    Notably, Defendants do not (and cannot) argue that complying with the
             injunction is impossible. Defendants merely point to the “administrative burden”
             of contacting and onboarding unlawfully terminated employees. Mot. at 21.

                    First, however, those harms are entirely self-inflicted, and are not
             “cognizable irreparable injur[ies]” that support a stay pending appeal. Al Otro
             Lado, 952 F.3d at 1008. Administrative burdens do not support stays pending
             appeal. Al Otro Lado, 952 F.3d at 1008 (“‘Mere injuries, however substantial, in
             terms of money, time and energy necessarily expended … are not enough’”)
             (quoting Sampson v. Murray, 415 U.S. 61, 90 (1974)).2 And it stretches credulity

             that returning employees to work would cause irreparable harm to Defendants
             when these employees had the same workspace, credentials, benefits, and training
             days or weeks ago.
                    Second, as of the time the injunction issued, several agencies “ha[d] rehired
             large swaths of terminated workers for myriad reasons,” and Defendants nowhere
             claimed to be “uniquely incapable of rehiring recently terminated probationers.”

             Dkt.133 at 4. And over the past week, the steps taken by Defendants to comply
             with a TRO issued by the Maryland District Court, which required the
             reinstatement of terminated probationary employees by March 17, conclusively




                    2
                     Even more absurd is Defendants’ argument that the preliminary injunction
             will cause probationary employees “uncertainty” and “perpetuate chaos and
             confusion,” Mot. at 21, which the District Court flatly rejected. Dkt.133 at 4.
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             establish that any claimed administrative burden is not irreparable. See
             Declaration of Robin S. Tholin, ¶¶3-7, Exs. A-D.
                    The Maryland TRO applies to eighteen federal agencies, including five of

             the six agencies covered by the preliminary injunction challenged here, and
             required a compliance report by March 17. See id. ¶4, Ex. A. Declarations by
             federal officials that were filed in Maryland District Court as part of that report
             attest that, over the weekend, federal agencies took steps to onboard previously
             terminated probationary employees—the same steps that Defendants now claim
             threaten “manifest” irreparable harm. Id. ¶7, Ex. D; Mot. at 20. While

             Defendants’ declarations in that case do not establish compliance with the
             preliminary injunction here, in light of the steps Defendants have already taken,
             they cannot plausibly argue to this Court that any further actions needed to comply
             with the District Court’s injunction would cause irreparable injury.
                    Finally, “the status quo would be seriously disrupted by an immediate
             stay[.]” Nat’l Urb. League v. Ross, 977 F.3d 698, 701 (9th Cir. 2020); E. Bay

             Sanctuary Covenant v. Trump, 932 F.3d 742, 778 (9th Cir. 2018). The status quo is
             “the legally relevant relationship between the parties before the controversy arose.”
             Fellowship of Christian Athletes v. San Jose Unified Sch. Dist., 82 F.4th 664, 684-

             85 (9th Cir. 2023) (en banc). This is the case for a stay pending appeal just as it is
             for a preliminary injunction. Doe #1, 957 F.3d at 1068. Thus, in Doe #1, this
             Court squarely rejected the government’s argument that implementation of the
             challenged action constituted the relevant status quo for purpose of the stay
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             pending appeal of a preliminary injunction: “In the government’s re-imagining of
             the status quo in this context, this factor would always tip in the government’s
             favor, effectively rendering the Court powerless to exercise its discretion….” Id. at

             1068-69. Instead, it was the government’s action “that that altered the status quo
             for the Plaintiffs.” Id. at 1068. Likewise here, the last uncontested status before
             the “controversy arose,” and before OPM’s unlawful order to agencies to fire their
             employees altered the status quo for the Plaintiffs, was thousands of probationary
             employees fully employed and providing essential services to Plaintiffs and the
             public. The preliminary injunction restores that status quo.

                    Defendants’ failure to pass this threshold test warrants summary denial.

             II.    Defendants Will Not Succeed in Overturning the Injunction.
                    The District Court’s factual findings, including that OPM ordered the en
             masse termination of probationary employees on the pretext of unsatisfactory

             “performance,” supra at 3, are supported by overwhelming evidence and subject to
             “very deferential” clear error review. Nat’l Wildlife Fed’n v. Nat’l Marine
             Fisheries Serv., 422 F.3d 782, 795 (9th Cir. 2005). In light of these findings,

             Plaintiffs are very likely to prevail on the merits.3


                    3
                     Although the District Court’s authorization of discovery is not appealable,
             see Arc of California v. Douglas, 757 F.3d 975, 992-94 (9th Cir. 2014), Defendants
             argue the District Court erred by authorizing Plaintiffs to take discovery on
             Defendants’ affirmative factual representations. Mot. at 3. But even in APA-only
             cases, where there is a “‘strong showing of bad faith or improper behavior [by the
             agency],’ … a court may look beyond the administrative record.” In re U.S. Dep’t

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                    A.      There Is No Real Dispute that OPM Violated the Law.
                    Defendants concede that OPM lacks authority to order agencies to terminate
             their employees. Mot. at 2. In light of its factual findings, the District Court
             correctly found Plaintiffs likely to succeed on claims that OPM’s actions were ultra

             vires because no statute “anywhere, ever” granted OPM authority to fire other
             agencies’ employees, Dkt.45 at 7-9; see also Dkt.132 at 9-11; were in “excess of
             statutory authority” in violation of the APA, Dkt.45 at 9; Dkt.132 at 12; were

             “arbitrary and capricious” because neither OPM nor the agencies could have
             conducted claimed performance assessments, Dkt.45 at 9-10; Dkt.132 at 12; and
             were rules that failed to comply with notice-and-comment rulemaking, id. (which

             Defendants did not even contest). Dkt.33 at 10-11; Dkt.39 at 12.

                    B.      The District Court Correctly Found Standing.
                    OPM appears to concede Washington State’s standing.4 The District Court’s
             detailed findings that the Plaintiff organizations have standing, Dkt.44 at 66-67; 45


             of Educ., 25 F.4th 692, 701 (9th Cir. 2022). And here, the District Court found that
             “the Government … has tried to frustrate the Judge’s ability to get at the truth of
             what happened here and then set forth … a sham declaration – they withdrew it,
             then substitute[d] another.” Dkt.120 at 8:6-10. Moreover, “[a] district court’s
             decision whether to admit extra-record evidence is reviewed for abuse of
             discretion.” Lands Council v. Powell, 395 F.3d 1019, 1030 n.11 (9th Cir. 2005).
                    4
                     As the record amply supports: see Dkt.70-2 (impairment to State’s
             floodplain, water quality, and fire and smoke management, and important
             ecosystems); 70-5 (fisheries management); 70-6 (local services); 70-7 (many State
             services); 70-8 (unemployment insurance system); 70-11 (ocean acidification
             monitoring and recovery programs); 70-12 (water management work); see also
             Dkt.70-9–70-10, 71 (fisheries and forest management).
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             at 13-19; 132 at 12-13, are firmly grounded in the evidence and merit deference.
             Doe v. Horne, 115 F.4th 1083, 1100-01 (9th Cir. 2024).
                    Most Plaintiffs are membership organizations and have shown that their

             members face irreparable injury. See Fellowship of Christian Athletes, 82 F.4th at
             681. Moreover, Plaintiffs “need only establish a risk or threat of injury to satisfy
             the actual injury requirement.” City & Cnty. of S.F. v. U.S. Citizenship & Immigr.
             Servs., 944 F.3d 773, 786-87 (9th Cir. 2019); see also Harris v. Bd. of Supervisors,
             366 F.3d 754, 762 (9th Cir. 2004) (affirming preliminary injunction where “not
             speculative” that hospital cuts would “impede the County’s ability to deliver

             medical treatment to plaintiffs in their times of need”). Plaintiffs presented
             extensive evidence of both threatened harms to services like those in Harris, and
             actual, ongoing harms to their members.5 The District Court’s finding that
             causation was not unduly speculative is entitled to deference. Dkt.45 at 21
             (“Plaintiffs have each established a sufficient causal link between the mass



                    5
                     See, e.g., Dkts.18-3; 18-7; 45; 132 at 12 (veterans injured by probationary
             terminations in VA facilities); Dkts.18-17, 70-13 (flight attendants injured by FAA
             terminations); Dkts.18-16; 45; 70-20; Dkt.132 at 12 (Main Street Alliance
             members’ imminent harm from SBA disaster relief and loan processing reductions
             and delays); Dkts.18-13; 18-15; 39-2; 39-3; 70-18; 70-19; see also Dkts.18-11; 45;
             70-2; 70-5; 70-6; 70-9; 70-10; 70-11; 70-12; Dkt.132 at 12 (environmental groups’
             members injured by impairment of services and public safety on federal public
             lands and degradation of ecosystems and habitats, undermining their conservation
             work); Dkts.70-3; 70-16; 132 at 12 (scientific and public health groups’ members
             harmed by termination of science agency employees who administer grants and
             generate data).
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             termination of employees at the implicated agencies, and the imminent,
             foreseeable, and in some cases actual injuries that they face.”).6
                    The District Court also correctly found standing based on the impact of the

             challenged actions on Plaintiffs’ organizational activities. Dkt.45 at 13-21, 132 at
             12; see Food & Drug Admin. v. Alliance for Hippocratic Medicine, 602 U.S. 367,
             395 (2024); Havens Realty Corp. v. Coleman, 455 U.S. 363, 378-79 (1982);
             Fellowship of Christian Athletes, 82 F.4th at 682-83 (“An organization has direct
             standing to sue where it establishes that the defendant’s behavior has frustrated its
             mission and caused it to divert resources in response to that frustration of

             purpose.”) (cleaned up). Plaintiffs documented the direct impact the terminations
             had on their ability to perform their own work, Dkts.18-13; 39-2; 70-4; 70-15; 70-
             18; see Dkts.45 at 17-19; 132 at 12, as well as other core activities and purposes,
             Dkts.45 at 19-20; 132 at 12; 18-3; 18-7; 18-15; 18-16; 39-3; 70-3; 70-13; 70-16;
             70-17; 70-19.

                    C.      Plaintiff Organizations and Washington State Are Not
                            “Channeled” to Administrative Agencies.
                    Defendants advance a novel argument of startling breadth: that Congress
             removed subject matter jurisdiction, expressly granted to federal courts by statute
             (28 U.S.C. §1331; 5 U.S.C. §701), over claims against OPM by Plaintiff
             organizations and Washington State. Defendants argued Congress acted by


                    6
                     See Covington v. Jefferson Cnty., 358 F.3d 626, 651–52 (9th Cir. 2004)
             (concrete injury supports standing even if widespread).
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             implication in statutes establishing agency procedures for hearing federal
             employee-employer disputes, under the Thunder Basin “channeling” doctrine.7
             But the statutes and agencies Defendants invoke—the Civil Service Reform Act

             (“CSRA”) and Merit Systems Protection Board (“MSPB”), and the Federal Service
             Labor Management Relations Statute (“FSL-MRS”) and Federal Labor Relations
             Authority (“FLRA”)—were not created for and cannot hear these claims. This
             Court should not be the first ever, on a stay motion, to endorse a statutory
             interpretation divesting this Court’s jurisdiction on a theory divorced from
             statutory text and purpose.

                    The Thunder Basin inquiry starts by examining whether the claims asserted
             “are of the type Congress intended to be reviewed” within a system of agency
             adjudication. Id. at 212; accord Kerr v. Jewell, 836 F.3d 1048, 1052-53 (9th Cir.
             2016) (channeling some claims but not others). Plaintiff organizations and
             Washington sue OPM for taking unlawful action, beyond its statutory authority and
             in violation of the APA. Dkt.90 ¶¶190-229. Defendants cite no authority

             extending channeling doctrine, which has been applied to federal employee claims
             against their employing agencies, to third-party claims challenging unlawful
             government action, because no such case exists.8 No controlling authority has ever


                    7
                        Derived from Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207-13
             (1994).
                    8
                     The District of Maryland rejected this argument last week, in enjoining the
             probationary employee terminations in a case brought by a different coalition of

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             sent third parties to the administrative agencies designed to hear claims brought by
             employees against employing agencies simply because the unlawful action
             challenged impacts federal employment.9 Nor has any controlling authority ever

             sent claims (under the APA or otherwise) involving government-wide rules or
             orders (including by OPM) to those agencies. See also Feds for Med. Freedom v.
             Biden, 63 F.4th 366, 375 (5th Cir.) (en banc), judgment vac’d as moot, 144 S.Ct.
             480 (2023) (employee organization challenge to government-wide federal
             vaccination mandate for employees was not channeled to CSRA or FSL-MRS
             agencies).

                    Implied doctrines cannot be divorced from statutory text. E.g., Loper Bright
             Enters. v. Raimondo, 603 U.S. 369, 391-92 (2024); Alexander v. Sandoval, 532
             U.S. 275, 287 (2001).10 The CSRA and FSL-MRS’s systems for adjudicating
             employee claims against their employer agencies do not “channel” third parties


             state attorneys general. Maryland v. U.S. Dep’t of Agriculture, __ F.Supp.3d __,
             2025 WL 800216, *12-15 (D. Md. Mar. 13, 2025); see also American Foreign
             Service Ass’n v. Trump, 2025 WL 573762, *4 n.1 (D.D.C. Feb. 21, 2025) (noting
             absence of non-union third-party plaintiffs).
                    9
                      Defendants’ Supreme Court cases address employees’ claims against their
             employing agencies. See Elgin v. Dep’t of Treasury, 567 U.S. 1 (2012); United
             States v. Fausto, 484 U.S. 439 (1988). This Court has channeled employee claims
             against employing agencies, but never a third-party claim. Veit v. Heckler, 746
             F.2d 508 (9th Cir. 1984); see also Saul v. United States, 928 F.2d 829 (9th Cir.
             1991); Russell v. U.S. Dep’t of the Army, 191 F.3d 1016 (9th Cir. 1999).
                    10
                      See also Axon Enters., Inc. v. FTC, 598 U.S.175, 217 (2023) (Gorsuch, J.,
             concurring) (“Respectfully, this Court should be done with the Thunder Basin
             project. I hope it will be soon.”).
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             who cannot bring claims before either the MSPB or the FLRA. See 5 U.S.C.
             §7701 (MSPB appeals limited to “employee” or “applicant” claims challenging
             employer actions listed in §7512); §7703 (appeal rights limited to aggrieved

             employees and applicants); §§7103(a)(1), 7118 (FLRA: individual, labor
             organization, or agency can bring claims); §7123 (FLRA: appeal rights limited to
             same). Nor can these agencies, under these same provisions, hear claims against
             OPM for taking government-wide action.
                    The District Court correctly rejected Defendants’ argument that these parties
             could somehow intervene or participate as amicus in these administrative

             proceedings. Dkt.63 at 6; Dkt.132 at 12. An amicus brief hardly substitutes for the
             APA’s “command” of judicial review, Dep’t of Commerce v. New York, 588 U.S.
             752, 771-72 (2019), or the availability of ultra vires claims, Sierra Club v. Trump,
             963 F.3d 874, 888-93 (9th Cir. 2020), judgment vac’d on other grounds, sub nom.
             Biden v. Sierra Club, 142 S. Ct. 46 (2021).
                    Defendants now try a new argument: “Congress’s exclusion of non-profits

             alleging downstream effects from agency terminations from the CSRA’s
             comprehensive review scheme indicates that plaintiffs cannot bring these claims at
             all.” Mot. at 16; compare Dkt.63 at 6. But no authority supports the argument that

             third parties—which Congress never contemplated would participate in such
             agency proceedings, and indeed are excluded by statute—are foreclosed from
             bringing APA and ultra vires claims over which courts have express jurisdiction.
             This is particularly so when Congress expressly made the OPM actions here
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             subject to the APA (5 U.S.C. §§1103(b), 1105), so to judicial review (5 U.S.C.
             §702). To support their extreme position, Defendants rely only on cases involving
             employee claims against their employing agencies, not third parties seeking to

             enjoin unlawful government-wide action.11 Nor would permitting injured states or
             organizations to sue OPM for unlawful government-wide actions require courts to
             “superintend” every individual employee claim against every agency—courts are
             well-equipped to understand the difference between a challenge to the legality of a
             government-wide rule and an employee’s individual employment dispute. E.g.,
             Feds for Med. Freedom, 63 F.4th at 375.12

                    The irony of Defendants’ position is pronounced: this Administration
             bypassed all CSRA requirements in directing the terminations, and further seeks to
             dismantle the very agencies they contend are the appropriate avenues for relief—
             having removed members of the MSPB, the FLRA, and the Office of Special
             Counsel prosecutor, arguing that for-cause provisions limiting removal are
             unconstitutional, while simultaneously arguing Plaintiffs are bound by those laws.

                    No precedent supports Defendants’ position, and the District Court did not
             err.


                    Mot. at 16 (citing U.S. v. Fausto, 484 U.S. 439, 455 (1988); Grosdidier v.
                    11

             Chairman, Broad. Bd. of Governors, 560 F.3d 495, 497 (D.C. Cir. 2009)).
                    12
                      Defendants falsely assert the Court granted relief based on claims
             “directly against employing agencies.” Mot. at 17. The Court permitted joinder of
             those agencies solely as Rule 19 defendants to permit complete relief. Dkt.88 at 2-
             4.
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                    D.      Defendants’ Challenge to the Scope of Relief Lacks Merit.
                            1.   Defendants’ post-TRO actions were insufficient.
                    The District Court correctly concluded that the post-TRO, March 5 revision
             to the January 20 OPM memo did not moot the case. Dkt.88 at 4; see Mot. at 2, 18;

             supra at 9. The Court found no evidence that agencies were now acting “at their
             own discretion” or that OPM had rescinded all unlawful orders. Supra at 4-5.
             Thus, the Court concluded: “Defendants’ argument on this point simply asks that
             the [Court] accept OPM’s factual contentions—supported only by counsel’s say-
             so—as true.” Dkt.88 at 4.
                    In these circumstances, it cannot “be said with assurance that there is no
             reasonable expectation ... that the alleged violation will recur.” County of Los
             Angeles v. Davis, 440 U.S. 625, 631 (1979) (quotations omitted); see also
             Armster v. U.S. Dist. Court for C.D. Cal., 806 F.2d 1347, 1358 n.16 (9th Cir. 1986)
             (Davis test applies even where cessation is not voluntary). The District Court
             rightly found that OPM’s “two-sentence revision to one memo among several held
             likely to constitute an unlawful directive … ‘could be easily abandoned or altered
             in the future.’” Dkt.88 at 5 (quoting Fikre v. Federal Bureau of Investigation, 904
             F.3d 1033, 1038 (9th Cir. 2018)).13




                    13
                      Notably, OPM did not actually “rescind the relevant communications,”
             Mot. at 9, because it did not amend its February 14 email unlawfully directing
             agencies to terminate their employees and redefining the regulatory meaning of
             “performance.” Dkt.37-1, Ex. B at 1 ¶4.
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                    Nor did the District Court err in declining to hold that OPM’s actions
             “‘completely and irrevocably eradicated the effects of the alleged violation.’”
             Dkt.88 at 4-5 (quoting Fikre, 904 F.3d at 1037); see Davis, 440 U.S. at 631

             (requiring this showing for mootness). The District Court correctly found that
             Defendants failed to show that OPM had directed agencies to unwind the unlawful
             actions by rehiring the wrongfully fired probationary employees, nor did
             Defendants introduce any evidence that the government services harmed by its
             mass termination program have been or will be restored. Dkt.69-3 ¶¶3-4. Thus,
             the effects of OPM’s acts have not been “eradicate[d].” See, e.g., Rezaq v. Nalley,

             677 F.3d 1001, 1009-10 (10th Cir. 2012); Colvin v. Caruso, 605 F.3d 282, 295-96
             (6th Cir. 2010); Randolph v. Rodgers, 170 F.3d 850, 857 (8th Cir. 1999).

                            2.   The District Court did not abuse its discretion in requiring
                                 reinstatement.
                    Defendants will not prevail on their backup argument that even if some relief
             were appropriate, reinstatement to restore services was not. Mot. at 2. They
             complain that the District Court “usurp[ed]” agencies’ authority. Id. at 19. But the
             District Court found that “the agencies were directed by OPM to fire all
             probationary employees, and they executed that directive,” so “[t]o staunch the
             irreparable harms to organizational plaintiffs caused by OPM unlawfully slashing
             other agenc[ies’] staff required immediately reinstating those employees.” Dkt.132
             at 13. There is nothing remarkable about ordering the rescission of actions that
             were both unlawfully ordered (because OPM lacked the authority) and

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             independently unlawful (because OPM’s directive was arbitrary and capricious)
             (see supra at 13-14).14
                    The District Court’s order properly restores “the legally relevant relationship

             between the parties before the controversy arose.” Fellowship of Christian
             Athletes, 82 F.4th at 684; see also supra at 12. While “it is sometimes necessary to
             require a party who has recently disturbed the status quo to reverse its actions, …
             such an injunction restores, rather than disturbs, the status quo ante.” League of
             Women Voters of N.C. v. North Carolina, 769 F.3d 224, 236 (4th Cir. 2014). Thus,
             the Maryland District Court deemed broader reinstatement of probationary

             employees at eighteen agencies to be “[a] prohibitory injunction [that] maintains
             the status quo.” Maryland, 2025 WL 800216 at *22. Both district courts merely
             “order[ed] the Government to preserve the situation that existed before it embarked
             on the likely illegal mass terminations….” Id. at *23.
                    This relief is particularly appropriate for APA claims, where “[t]he normal
             remedy … is vacatur of the rule and its applicability to all who would have been

             subject to it.” Mass. v. Nat’l Institutes of Health, __ F.Supp.3d __, 2025 WL
             702163, *34 (D. Mass. Mar. 5, 2025). The “statutory power to ‘set aside’ agency
             action is more than a mere non-enforcement remedy,” and encompasses “the power

             to ‘strike down’ an agency’s work, and the disapproved agency action is treated as
             though it had never happened.” Griffin v. HM Fla.-ORL, LLC, __ U.S. __, 144

                    14
                      As the District Court explained, nothing in the preliminary injunction
             prohibits future statutorily authorized OPM guidance. Dkt.133 at 4-5.
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             S. Ct. 1, 2 n.1 (2023) (Kavanaugh, J.) (quotation omitted); see also Driftless Area
             Land Conservancy v. Valcq, 16 F.4th 508, 522 (7th Cir. 2021) (“Vacatur [of agency
             action] retroactively undoes or expunges a past [agency] action....vacatur unwinds

             the challenged agency action.”).
                    “‘[T]he scope of injunctive relief is dictated by the extent of the violation
             established’; when “the Government has engaged in an illegal scheme spanning
             broad swaths of the federal workforce,” broad relief is required. Maryland, 2025
             WL 800216, at *25 (quoting Califano v. Yamasaki, 442 U.S. 682, 702 (1979)).
             “[T]he Government must start from square one, acting in compliance with federal

             law.” Id. And here, the District Court’s findings that there was “no evidence
             suggesting that federal agencies—some of which have continued to terminate
             probationers—are now acting at their own discretion” or that OPM “rescinded or
             revised the other communications imparting its unlawful directive,” Dkt.88 at 4,
             are entitled to deference. Promises by counsel cannot overcome facts found by the
             District Court.

                    Finally, “when district courts are properly acting as courts of equity, they
             have discretion unless a statute clearly provides otherwise.” United States v.
             Oakland Cannabis Buyers’ Coop., 532 U.S. 483, 496 (2001); see also Hecht Co. v.

             Bowles, 321 U.S. 321, 329 (1944) (“The essence of equity jurisdiction has been the
             power of the Chancellor to do equity and to mould each decree to the necessities of
             the particular case. Flexibility rather than rigidity has distinguished it.”).


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                    Given the evidentiary record, the District Court did not abuse its equitable
             discretion in fashioning equitable remedies. The order was limited to six agencies
             as to which Plaintiffs had strongly demonstrated irreparable injury. Dkt.132 at 13.

             And as the District Court explained, Defendants “wholly failed to argue there is
             any other way to avoid the irreparable injuries flowing from the unlawful
             terminations except to reinstate the employees.” Dkt.133 at 2.

             III.   Equitable Factors All Weigh Against Stay
                    The District Court did not abuse its discretion in rejecting Defendants’
             balance-of-equities and public-interest arguments. Dkt.133 at 2; see Earth Island
             Inst. v. Carlton, 626 F.3d 462, 475 (9th Cir. 2010) (“assignment of weight to

             particular harms is a matter for district courts to decide”). As against Plaintiffs’
             showing of broad, ongoing, and irreparable harm, Defendants submitted no
             evidence of real harm. Supra at 11-12.

                    Moreover, as the District Court held, “‘[t]he preservation of the rights in the
             Constitution and the legality of the process by which government agencies function
             certainly weighs heavily in the public interest.’” Dkt.132 at 13-14 (quoting Nat’l

             Treasury Emps. Union v. U.S. Dep’t of Treasury, 838 F.Supp. 631, 640 (D.D.C.
             1993)). Indeed, “the public … has an interest in ensuring that ‘statutes enacted by
             [their] representatives’” are not imperiled by illegal executive action. E. Bay
             Sanctuary Covenant, 932 F.3d at 779. The public also has an interest in “full and
             considered attention” to the appeal’s merits, rather than a hasty, nonbinding


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             decision. Washington v. Trump, 2025 WL 553485, at *2 (9th Cir. Feb. 19, 2025)
             (Forrest, J. concurring).
                    The equities and the public interest overwhelmingly disfavor a stay pending

             appeal.
                                               CONCLUSION
                    For the foregoing reasons, the Court should deny Defendants’ motion for a
             stay pending appeal.




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             DATED: March 18, 2025                  Respectfully submitted,

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                                   CERTIFICATE OF COMPLIANCE

                     Pursuant to Federal Rule of Appellate Procedure 32(g), I hereby certify
              that this motion complies with Federal Rule of Appellate Procedure 27(d)(1)(E)
              because it is proportionally spaced and has a typeface of 14 points. It contains
              6,340 words, in compliance with the type-volume limitations of Circuit Rules
              27-1(1)(d), 32-3(2), and 32-2(b), as a joint brief submitted by the separately
              represented parties of Plaintiff Organizations and the State of Washington.



              Dated: March 18, 2025

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